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 8                     UNITED STATES DISTRICT COURT
 9                    CENTRAL DISTRICT OF CALIFORNIA
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     DANIEL TORRES,                            Case No.: 2:23-cv-01533-KK-SK
11   EMSURGCARE, and
     EMERGENCY SURGICAL
12   ASSISTANT,                                [PROPOSED] ORDER GRANTING
                                               STIPULATION TO AMEND
13                     Plaintiffs,             BRIEFING SCHEDULE FOR
     v.                                        CROSS-MOTIONS FOR
14                                             JUDGMENT UNDER FED. R. CIV.
     UNITEDHEALTHCARE                          PRO. 52
15   INSURANCE CO., DOES 1-10,
     inclusive,
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                    Defendants
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                    [Proposed] Order On Stipulation to Amend Briefing Schedule
Case 2:23-cv-01533-KK-SK      Document 77 Filed 05/02/24        Page 2 of 2 Page ID
                                    #:2366


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 3                                 [PROPOSED] ORDER
 4         Having considered the Parties’ Stipulation to amend the briefing schedule
 5   on the Parties’ Rule 52 briefs,
 6         It is HEREBY ORDERED as follows:
 7         1.     The Parties’ response briefs will be due on May 10, 2024.
 8         IT IS SO ORDERED.
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11   DATED: May 2, 2024
12                                     __________________________________
                                       Honorable Kenly Kiya Kato
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                                       United States District Court Judge
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                      [Proposed] Order On Stipulation to Amend Briefing Schedule
